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    6
    7                       UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
    8
      V.R., a minor, by and through her             Case No. 5:19-cv-01023-JGB-SP
    9 guardian ad litem Ariana Toscano,
                                                    [Honorable Jesus G. Bernal]
   10 individually and as successor in interest
      to Juan Ramon Ramos, deceased; and
   11 RAMONA TERRAZAS, individually,                DECLARATION OF RENEE V.
                                                    MASONGSONG AND EXHIBITS
   12                                               THERETO IN SUPPORT OF
                    Plaintiffs,                     PLAINTIFFS’ MOTION FOR
   13                                               PARTIAL SUMMARY JUDGMENT
             vs.                                    OR SUMMARY ADJUDICATION
   14
      COUNTY OF SAN BERNARDINO;                     [Filed concurrently with Plaintiffs’
   15 GARY WHEELER; THUN HOUN;                      Notice of Motion for Summary
                                                    Judgment; Memorandum of Points and
      JASON CALVERT; and DOES 4-10,                 Authorities in Support; Plaintiffs’
   16 inclusive,
                                                    Separate Statement of Uncontroverted
   17                                               Facts; Declaration of Scott Defoe and
      Defendants.                                   exhibits thereto]
   18                                               Date: November 8, 2021
   19                                               Time: 9:00 a.m.
                                                    Courtroom: Riverside, 1
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                                               -0-                  Case No: 5:19-cv-01023-JGB-SP
          DECLARATION OF RENEE V. MASONGSONG IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                          SUMMARY JUDGMENT OR SUMMARY ADJUDICATION
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    1
                       DECLARATION OF RENEE V. MASONGSONG
    2
        I, Renee V. Masongsong, hereby declare as follows:
    3
                 1. I am an attorney licensed to practice law in the United States District
    4
        Court for the Central District of California. I am one of the attorneys of record for
    5
        Plaintiffs V.R., a minor, and Ramona Terrazas in this instant action. I make this
    6
        declaration in support of Plaintiffs’ Motion for Partial Summary Judgment or
    7
        Summary Adjudication. I have personal knowledge of the matters stated herein and
    8
        could and would testify competently thereto if called.
    9
                 2. Attached hereto as “Exhibit 1” is a true and correct copy of the
   10
        relevant pages of Sergeant Gary Wheeler’s Deposition (“Wheeler Depo”), taken on
   11
        December 18, 2020.
   12
                 3. Attached hereto as “Exhibit 2” is a true and correct copy of the
   13
        relevant pages of Deputy Mariusz Kuskowski Deposition (“Kuskowski Depo”),
   14
        taken on February 15, 2021.
   15
                 4. Attached hereto as “Exhibit 3” is a true and correct copy of the
   16
        relevant pages of Deputy Charles Lopez’s Deposition (“Lopez Depo”), taken on
   17
        February 15, 2021.
   18
                 5. Attached hereto as “Exhibit 4” is a true and correct copy of the
   19
        relevant pages of Deposition of Deputy Thun Houn (“Houn Depo”), taken on
   20
        December 18, 2020.
   21
                 6. Manually filed concurrently herewith as “Exhibit 5” is a true and
   22
        correct copy of a relevant clip from the video footage from K-9 Officer Dane
   23
        Stordhal’s body worn camera (“Stordhal BWC”), from July 22, 2018.
   24
                 7. Manually filed concurrently herewith as “Exhibit 6” is a true and
   25
        correct copy of a relevant clip from the video footage from Deputy Thun Houn’s
   26
        body worn camera (“Houn BWC 1”), from July 22, 2018.
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          DECLARATION OF RENEE V. MASONGSONG IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                          SUMMARY JUDGMENT OR SUMMARY ADJUDICATION
Case 5:19-cv-01023-JGB-SP Document 62-3 Filed 10/04/21 Page 3 of 4 Page ID #:1066




    1             8. Attached hereto as “Exhibit 7” is a true and correct copy of the
    2 relevant pages of Sergeant Jason Calvert’s Deposition (“Calvert Depo”), taken on
    3 February 15, 2021.
    4             9. Manually filed concurrently herewith as “Exhibit 8” is a true and
    5 correct copy of the complete cell phone video from taken by Abraham Terrazas
    6 (“Terrazas Cell Video”), from July 22, 2018.
    7             10. Attached hereto as “Exhibit 9” is a true and correct copy of the
    8 relevant pages of Abraham Terrazas’s Deposition (“Terrazas Deposition”), taken on
    9 February 25, 2021.
   10             11. Attached hereto as “Exhibit 10” is a true and correct copy of the
   11 relevant pages of Josue Zuniga’s Deposition (“Zuniga Depo”), taken on April 8,
   12 2021.
   13             12. Attached hereto as “Exhibit 11” is a true and correct copy of the
   14 relevant pages of David Zuniga, Jr.’s Deposition (Zuniga, Jr. Depo”), taken on April
   15 8, 2021.
   16             13. Manually filed concurrently herewith as “Exhibit 12” is a true and
   17 correct copy of a clip from the video footage from Deputy Marius Kuskowski’s
   18 body worn camera (“Kuskowski BWC”), taken on July 22, 2018.
   19             14. Manually filed concurrently herewith as “Exhibit 13” is a true and
   20 correct copy of a second relevant clip of the video footage from Deputy Thun
   21 Houn’s body worn camera (“Houn BWC 2”), taken on July 22, 2018.
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                                                -2-                  Case No: 5:19-cv-01023-JGB-SP
           DECLARATION OF RENEE V. MASONGSONG IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                           SUMMARY JUDGMENT OR SUMMARY ADJUDICATION
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    1           15.Manually filed concurrently herewith as “Exhibit 14” is a true and
    2 correct copy of a clip from the video footage from Deputy Charles Lopez’s body
    3 worn camera (“Lopez BWC”), taken on July 22, 2018.
    4
    5        I declare under penalty of perjury that the foregoing is true and correct, and
    6 that this was executed this 4th day of October, 2021 at Woodland Hills, California.
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    8                                /s/ Renee V. Masongsong
                                       Renee V. Masongsong
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                                              -3-                  Case No: 5:19-cv-01023-JGB-SP
         DECLARATION OF RENEE V. MASONGSONG IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                         SUMMARY JUDGMENT OR SUMMARY ADJUDICATION
